






	










NUMBER 13-08-00481-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


____________________________________________________________

										

LOUIS ALBERTO MARTINEZ,	Appellant,


v.



THE STATE OF TEXAS,	Appellee.

____________________________________________________________


On appeal from the 214th District Court


of Nueces County, Texas.


____________________________________________________________


MEMORANDUM OPINION



Before Chief Justice Valdez and Justices Yañez and BenavidesMemorandum Opinion Per Curiam


	Appellant, Louis Alberto Martinez, by and through his attorney, has filed a
motion to dismiss his appeal because he no longer desires to prosecute it.  See Tex.
R. App. P. 42.2(a).  Without passing on the merits of the case, we grant the motion to
dismiss pursuant to Texas Rule of Appellate Procedure 42.2(a) and dismiss the appeal. 
Having dismissed the appeal at appellant's request, no motion for rehearing will be
entertained, and our mandate will issue forthwith.

								PER CURIAM


Do not publish. See Tex. R. App. P. 47.2(b).  

Memorandum Opinion delivered and 

filed this the 15th day of January, 2009.


